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                EXHIBIT B
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional           Cost Type        Description                                                    Amount
  2/14/2010 Brian Heinimann        Airfare          Travel to client office in North Carolina on 2/15 and return         494.56
                                                    to Chicago on 2/19: United Airlines: O'Hare / Raleigh
                                                    02/15/2010 to 2/19/2010.
  2/17/2010 Brian Heinimann        Airfare          Flight to client site and return: Southwest: MDW / RDU               408.40
                                                    02/22/2010 to 02/25/2010.
  2/25/2010 Brian Heinimann        Airfare          Flight to client site and return: Southwest: MDW / RDU               304.40
                                                    03/01/2010 to 03/04/2010.
  2/12/2010 Coley P. Brown         Airfare          Airfare from ORD to RDU (one way) for week of 2/15-                  231.70
                                                    2/19.: United: ORD / RDU 02/15/2010 to 02/19/2010.

  2/17/2010 Coley P. Brown         Airfare          Airfare to and from ORD and RDU for week of 2/22-2/25.              1,003.10
                                                    Includes one way airfare back from RDU during week of
                                                    2/15-2/19.: United: ORD/RDU 02/21/2010 to 02/25/2010.

  2/24/2010 Coley P. Brown         Airfare          Airfare to and from ORD and RDU for week of 3/1-3/5.:                453.40
                                                    United: ORD / RDU 03/01/2010 to 03/05/2010.
   2/1/2010 Joseph J. McKenna      Airfare          UNITED AIRLINES CHICAGO IL: Airfare to and from                      624.40
                                                    Chicago office while traveling on Nortel engagement.:
                                                    UNITED AIRLINES: LGA/ORD 02/01/2010 to
                                                    02/04/2010.
  2/17/2010 Joseph J. McKenna      Airfare          CONTINENTAL AIRLINES CHICAGO IL: Airfare                             459.90
                                                    from EWR to RDU while traveling on Nortel engagement.:
                                                    CONTINENTAL AIRLINES: EWR/RDU 02/22/2010 to
                                                    02/25/2010.
  2/25/2010 Joseph J. McKenna      Airfare          CONTINENTAL AIRLINES CHICAGO IL: Airfare                             459.90
                                                    from EWR to RDU while traveling on Nortel engagement.:
                                                    CONTINENTAL AIRLINES: EWR/RDU 03/01/2010 to
                                                    03/04/2010.
  2/11/2010 Lee A. Sweigart        Airfare          DELTA AIR LINES CHICAGO IL: Flight from IND to                       544.40
                                                    RDU: DELTA AIR LINES: IND 02/15/2010 to
                                                    02/18/2010.
  2/18/2010 Lee A. Sweigart        Airfare          DELTA AIR LINES CHICAGO IL: Flight from IND to                       882.40
                                                    RDU for work at Nortel RTP: DELTA AIR LINES:
                                                    IND/RDU 02/22/2010 to 02/25/2010.
  2/25/2010 Lee A. Sweigart        Airfare          DELTA AIR LINES CHICAGO IL: Flight from IND to                      1,030.40
                                                    RDU for work at Nortel RTP: DELTA AIR LINES:
                                                    IND/RDU 03/01/2010 to 03/04/2010.
  2/19/2010 Matthew J. Fisher      Airfare          Travel to Raleigh, NC to visit RTP office (including $15             665.56
                                                    airport surcharge): United Airlines: ORD/RDU 02/15/2010
                                                    to 02/19/2010.
  2/26/2010 Matthew J. Fisher      Airfare          Travel to Raleigh, NC to visit RTP office (including $15             423.40
                                                    airport surcharge): Southwest: MDW/RDU 02/22/2010 to
                                                    02/26/2010.
   2/1/2010 Michael E. Scannella   Airfare          Continental, EWR to ORD, 2/1 - 2/4, travel to be with                375.35
                                                    Nortel team.: Continental: EWR/ORD 02/01/2010 to
                                                    02/04/2010.
  2/11/2010 Michael E. Scannella   Airfare          Travel to client site.: Continental: EWR/RDU 02/22/2010              459.90
                                                    to 02/25/2010.
  2/17/2010 Michael E. Scannella   Airfare          Roundtrip flight to client site.: Continental: EWR/RDU               459.90
                                                    02/22/2010 to 02/25/2010.
  2/24/2010 Michael E. Scannella   Airfare          Travel to clientsite.: Continental: EWR/RDU 03/01/2010 to            459.90
                                                    03/04/2010.
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional        Cost Type                Description                                                 Amount
  2/15/2010 Brian Heinimann     Ground Transportation Cab to airport to catch flight to client site: Yellow Cab:              40.00
                                                      Home / ORD Airport
  2/19/2010 Brian Heinimann     Ground Transportation Cab to office after return from visit to client site: Yellow            40.00
                                                      Cab: ORD / Office
  2/22/2010 Brian Heinimann     Ground Transportation Taxi to MDW to catch flight to client site: Yellow Cab:                 40.00
                                                      MDW
  2/25/2010 Brian Heinimann     Ground Transportation Taxi to residence after client site: Yellow Cab: MDW                    40.00

   2/3/2010 Coley P. Brown      Ground Transportation Cab from Chicago Firehouse restaurant to residence after                25.00
                                                      working late on Nortel matters.: Cab: Chicago Firehouse /
                                                      Residence
   2/8/2010 Coley P. Brown      Ground Transportation Cab ride from residence to ORD for travel on Nortel.: Cab:              40.00
                                                      Residence / ORD
   2/8/2010 Coley P. Brown      Ground Transportation Cab ride from RDU to Nortel HQ in RTP.: Cab: RDU /                      20.00
                                                      Nortel HQ
  2/12/2010 Coley P. Brown      Ground Transportation Cab from ORD to residence after travel on Nortel.: Cab:                 40.00
                                                      ORD / Residence
  2/15/2010 Coley P. Brown      Ground Transportation Cab ride from residence to ORD for travel on Nortel.: Cab:              40.00
                                                      Residence / ORD
  2/21/2010 Coley P. Brown      Ground Transportation Cab ride from ORD to residence after travel on Nortel.:                 40.00
                                                      Cab: ORD / Residence
  2/22/2010 Coley P. Brown      Ground Transportation Cab ride from residence to ORD for travel on Nortel.: Cab:              40.00
                                                      Residence / ORD
  2/22/2010 Coley P. Brown      Ground Transportation Cab ride from RDU to Nortel HQ in RTP.: Cab: RDU /                      20.00
                                                      Nortel HQ
  2/25/2010 Coley P. Brown      Ground Transportation Cab from ORD to residence after travel on Nortel.: Cab:                 40.00
                                                      ORD / Residence
   2/1/2010 Joseph J. McKenna   Ground Transportation CTA-O HARE 11047 L99 CHICAGO              IL: CTA Transit               15.00
                                                      card for use while working on Nortel engagement in
                                                      Chicago office. Card used for travel to and from airport
                                                      over multiple weeks.: CHICAGO TRANSIT
                                                      AUTHORITY: O'Hare
   2/1/2010 Joseph J. McKenna   Ground Transportation DIAL 7 CAR 212-777-7LONG ISLAND CITY NY: Car                            41.00
                                                      from residence in Lower Manhattan to LaGuardia Airport
                                                      while traveling on Nortel engagement.: DIAL 7 CAR &
                                                      LIMOUSINE: Residence/LGA
   2/1/2010 Joseph J. McKenna   Ground Transportation Taxi fro Chicago office to W Lakeshore Hotel while                      12.00
                                                      traveling on Nortel engagement.: Chicago: Chicago
                                                      Office/W Hotel Lakeshore
   2/2/2010 Joseph J. McKenna   Ground Transportation Taxi to Chicago office from W Lakeshore Hotel while                     11.00
                                                      traveling on Nortel engagement.: Blue Ribbon Taxi: W
                                                      Lakeshore Hotel to Chicago office.
   2/2/2010 Joseph J. McKenna   Ground Transportation Taxi from Chicago office to W Lakeshore Hotel while                     12.00
                                                      traveling on Nortel engagement.: Blue Ribbon: Chicago
                                                      office to W Lakeshore Hotel
   2/4/2010 Joseph J. McKenna   Ground Transportation DIAL 7 CAR 212-777-7LONG ISLAND CITY NY: Car to                         39.00
                                                      residence in Lower Manhattan from LaGuardia Airport
                                                      while traveling on Nortel engagement.: DIAL 7 CAR &
                                                      LIMOUSINE: LGA/Residence
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional           Cost Type              Description                                               Amount
   2/8/2010 Joseph J. McKenna      Ground Transportation DIAL 7 CAR 212-777-7LONG ISLAND CITY NY: Car                        64.00
                                                         from residence in Lower Manhattan to Newark Airport
                                                         while traveling on Nortel engagement.: DIAL 7 CAR &
                                                         LIMOUSINE: Residence/EWR
  2/11/2010 Joseph J. McKenna      Ground Transportation DIAL 7 CAR 212-777-7LONG ISLAND CITY NY: Car to                     66.00
                                                         residence in Lower Manhattan from Newark Airport while
                                                         traveling on Nortel engagement.: DIAL 7 CAR &
                                                         LIMOUSINE: EWR/Residence
  2/22/2010 Joseph J. McKenna      Ground Transportation Car from residence in Lower Manhattan to EWR Airport.:              66.00
                                                         Dial 7: NYC / EWR
  2/24/2010 Joseph J. McKenna      Ground Transportation Car to residence in Lower Manhattan from EWR Airport.:              70.00
                                                         Dial 7: NYC / EWR
   2/1/2010 Lee A. Sweigart        Ground Transportation Ride to hotel from Huron office: Taxi: W Lakeshore                  14.00

   2/1/2010 Lee A. Sweigart        Ground Transportation Ride to Huron office from MDW: Taxi: Huron office                   37.00

   2/2/2010 Lee A. Sweigart        Ground Transportation Ride to Huron office from hotel: Taxi: Huron office                 14.00

   2/2/2010 Lee A. Sweigart        Ground Transportation Ride to hotel from Huron office: Taxi: W Lakeshore                  14.00

   2/3/2010 Lee A. Sweigart        Ground Transportation Ride to restaurant from Huron office: Taxi: Dinner in               21.00
                                                         Chicago
   2/3/2010 Lee A. Sweigart        Ground Transportation Ride to Huron office from hotel: Taxi: Huron office                 14.00

   2/4/2010 Lee A. Sweigart        Ground Transportation Ride to MDW from Huron office: Taxi: MDW airport                    37.00

   2/8/2010 Lee A. Sweigart        Ground Transportation Ride to Nortel RTP from RDU airport: Taxi: Nortel RTP               20.00

  2/15/2010 Lee A. Sweigart        Ground Transportation Ride to Nortel RTP from RDU airport: Taxi: Nortel RTP               20.00

  2/18/2010 Lee A. Sweigart        Ground Transportation Cab ride to RDU airport from Nortel.                                25.00

  2/22/2010 Lee A. Sweigart        Ground Transportation Ride from RDU airport to Nortel Networks RTP: Cab:                  20.00
                                                         RDU/Nortel
  2/25/2010 Lee A. Sweigart        Ground Transportation Ride from Sheraton RTP to RDU: Cab: Hotel/RDU                       20.00

  2/15/2010 Matthew J. Fisher      Ground Transportation Transportation from residence to airport: Taxi: 1464 S.             48.00
                                                         Michigan/ORD airport
  2/22/2010 Matthew J. Fisher      Ground Transportation Transportation from residence to MDW airport: Taxi: 1464            30.00
                                                         S. Michigan/MDW airport
  2/25/2010 Matthew J. Fisher      Ground Transportation Transportation from MDW airport to residence: Taxi:                 30.00
                                                         MDW airport to 1464 S. Michigan
   2/1/2010 Michael E. Scannella   Ground Transportation Transportation from Jersey City, NJ to EWR for travel on            78.00
                                                         client matters.: A1 Limo: Jersey City/EWR
   2/1/2010 Michael E. Scannella   Ground Transportation Cab from ORD to Huron Office, Chicago.: Chicago Taxi:               44.00
                                                         ORD/Huron Office
   2/1/2010 Michael E. Scannella   Ground Transportation Huron Office to W Lakeshore, Chicago.: Chicago Taxi:                13.00
                                                         Huron Office/W Lakeshore
   2/3/2010 Michael E. Scannella   Ground Transportation Cab ride from Huron Office to W Lakeshore, Chicago.:                12.00
                                                         Chicago Cab: Huron Office/W Lakeshore
   2/4/2010 Michael E. Scannella   Ground Transportation Cab from EWR to Jersey City, NJ.: Dial 7: EWR/Jersey                58.00
                                                         City, NJ
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional           Cost Type               Description                                                  Amount
   2/4/2010 Michael E. Scannella   Ground Transportation Cab ride from W Lakeshore to Huron Office, Chicago.:                    10.00
                                                         Chicago Cab: W Lakeshore/Huron Office
   2/4/2010 Michael E. Scannella   Ground Transportation Cab from Huron Office to ORD, Chicago.: Yellow Cab:                     39.75
                                                         Huron Office/ORD
  2/15/2010 Michael E. Scannella   Ground Transportation Cab from RDU to Nortel Office, NC.: RDU Cab:                            19.00
                                                         RDU/Nortel Office
  2/22/2010 Michael E. Scannella   Ground Transportation Car service to airport for travel on Nortel.: Dial 7: Jersey            59.00
                                                         City/EWR
  2/24/2010 Michael E. Scannella   Ground Transportation Car from airport to home after travel for Nortel.: Dial 7:              59.00
                                                         EWR/Jersey City
  2/19/2010 Brian Heinimann        Hotel/Lodging         Stay at hotel while visiting client: Sheraton: Durham               614.24
                                                         02/15/2010 to 02/19/2010, 4 nights.
  2/25/2010 Brian Heinimann        Hotel/Lodging         Hotel for 3 nights while visiting client site: Sheraton:            460.68
                                                         Raleigh 02/22/2010 to 02/25/2010.
  2/12/2010 Coley P. Brown         Hotel/Lodging         Sheraton Imperial Hotel: Sheraton Imperial, 4 nights:               624.24
                                                         Raleigh 02/08/2010 to 02/12/2010.
  2/19/2010 Coley P. Brown         Hotel/Lodging         Sheraton Imperial Hotel in Raleigh for 4 nights from 2/15-          624.24
                                                         2/19.: Sheraton Imperial: Raleigh 02/15/2010 to
                                                         02/19/2010.
  2/23/2010 Coley P. Brown         Hotel/Lodging         Sheraton Imperial hotel in Raleigh from 2/22-2/25 (3                470.68
                                                         nights).: Sheraton Imperial: Raleigh 02/22/2010 to
                                                         02/25/2010.
   2/5/2010 Joseph J. McKenna      Hotel/Lodging         Lodging while traveling on Nortel engagement.: W                    524.58
                                                         LAKESHORE: CHICAGO 02/01/2010 to 02/04/2010, 3
                                                         nights.
  2/12/2010 Joseph J. McKenna      Hotel/Lodging         Lodging while traveling on Nortel engagement.:                      460.68
                                                         IMPERIAL HOTEL GROUP INC: DURHAM 02/08/2010
                                                         to 02/11/2010, 3 nights.
  2/26/2010 Joseph J. McKenna      Hotel/Lodging         Lodging while traveling on Nortel engagement.: Sheraton             383.90
                                                         Imperial: Durham, NC 02/22/2010 to 02/24/2010, 2 nights.

   2/5/2010 Lee A. Sweigart        Hotel/Lodging           Hotel in Chicago for work on Nortel: W LAKESHORE 39:              515.85
                                                           CHICAGO 02/01/2010 to 02/04/2010, 3 nights.

  2/12/2010 Lee A. Sweigart        Hotel/Lodging           Hotel in RTP for work on Nortel: SHERATON IMPERIAL                460.68
                                                           HOTEL GROUP INC: DURHAM 02/08/2010 to
                                                           2/11/2010, 3 nights.
  2/19/2010 Lee A. Sweigart        Hotel/Lodging           Hotel stay for work at Nortel RTP: IMPERIAL HOTEL                 460.68
                                                           GROUP INC: DURHAM 02/15/2010 to 02/18/2010, 3
                                                           nights.
  2/26/2010 Lee A. Sweigart        Hotel/Lodging           Hotel stay for work at Nortel RTP: IMPERIAL HOTEL                 460.68
                                                           GROUP INC: DURHAM 02/22/2010 to 02/25/2010, 3
                                                           nights.
  2/19/2010 Matthew J. Fisher      Hotel/Lodging           Lodging while visiting RTP offices: Sheraton: Durham, NC          634.24
                                                           02/15/2010 to 02/19/2010.
  2/25/2010 Matthew J. Fisher      Hotel/Lodging           Lodging while visiting RTP offices: Sheraton: Durham, NC          480.68
                                                           02/22/2010 to 02/25/2010.
   2/4/2010 Michael E. Scannella   Hotel/Lodging           W Lakeshore, Chicago, 2/1 - 2/4, 3 nights, room + tip.: W         526.69
                                                           Lakeshore: Chicago 02/01/2010 to 02/04/2010.
  2/11/2010 Michael E. Scannella   Hotel/Lodging           Sheraton Imperial, RTP, 2/8 - 2/11, 3 nights, room + tip.:        473.68
                                                           Sheraton: RTP 02/08/2010 to 02/11/2010.
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional           Cost Type            Description                                                    Amount
  2/18/2010 Michael E. Scannella   Hotel/Lodging        3 nights, Sheraton, room + tip.: Sheraton: Raleigh                  470.68
                                                        02/15/2010 to 02/18/2010, 3 nights.
  2/24/2010 Michael E. Scannella   Hotel/Lodging        Hotel while at clientsite, room + tip, 2 nights.: Sheraton:         393.90
                                                        Durham 02/22/2010 to 02/24/2010.
   2/3/2010 Brian Heinimann        Meals                Business dinner while working on Nortel engagement:                 250.00
                                                        Chicago Firehouse: Chicago Attendees: Brian Heinimann,
                                                        Michael E. Scannella, Joseph J. McKenna, Coley P.
                                                        Brown, Matthew J. Fisher, 5 people.
  2/15/2010 Brian Heinimann        Meals                Dinner for B. Heinimann and M. Fisher upon arriving at                  53.00
                                                        Sheraton Imperial in Raleigh: Sheraton: Durham Attendees:
                                                        Brian Heinimann, Matthew J. Fisher, 2 people.

  2/16/2010 Brian Heinimann        Meals                Breakfast: Sheraton: Durham, 1 person                                 3.74
  2/17/2010 Brian Heinimann        Meals                Dinner for team while working on Nortel engagement:                 168.78
                                                        Sansui: Raleigh Attendees: Brian Heinimann, Matthew J.
                                                        Fisher, Coley P. Brown, Michael E. Scannella, Lee A.
                                                        Sweigart, 5 people.
  2/17/2010 Brian Heinimann        Meals                Breakfast: Sheraton: Durham (1 person)                                2.72
  2/18/2010 Brian Heinimann        Meals                Dinner for Nortel team while visiting client site in Durham,        133.63
                                                        NC: Maggiano's: Durham, NC Attendees: Brian
                                                        Heinimann, Matthew J. Fisher, Coley P. Brown, 3 people.

  2/19/2010 Brian Heinimann        Meals                Lunch in ORD en route from client site to office: Burrito                8.57
                                                        Beach: Chicago (1 person)
  2/22/2010 Brian Heinimann        Meals                Lunch Harry Caray's for B. Heinimann and M. Fisher while                38.67
                                                        en route to client: Harry Caray's: Chicago Attendees: Brian
                                                        Heinimann, Matthew J. Fisher, 2 people.

  2/22/2010 Brian Heinimann        Meals                Dinner for B. Heinimann and M. Fisher while visiting                    75.50
                                                        client site: Sheraton Hotel: Raleigh Attendees: Brian
                                                        Heinimann, Matthew J. Fisher, 2 people.
  2/23/2010 Brian Heinimann        Meals                Breakfast while visiting client: Sheraton: Raleigh (1                    3.74
                                                        person)
  2/24/2010 Brian Heinimann        Meals                Meal for team at Mez while visiting client: Mez: Raleigh            200.00
                                                        Attendees: Brian Heinimann, Matthew J. Fisher, Lee A.
                                                        Sweigart, Coley P. Brown, 4 people.
  2/24/2010 Brian Heinimann        Meals                Breakfast while visiting client: Sheraton: Raleigh (1                    3.74
                                                        person)
  2/25/2010 Brian Heinimann        Meals                Breakfast B. Heinimann and M. Fisher while visiting                      9.54
                                                        client: Sheraton: Raleigh Attendees: Brian Heinimann,
                                                        Matthew J. Fisher, 2 people.
  2/25/2010 Brian Heinimann        Meals                Meal B. Heinimann Greanleaf's in RDU while en route to                  10.56
                                                        residence: Greanleaf's: Raleigh (1 person)
   2/8/2010 Coley P. Brown         Meals                Breakfast at ORD while traveling on Nortel for Coley                     9.84
                                                        Brown (1 person).: ORD Airport: Chicago
   2/9/2010 Coley P. Brown         Meals                Dinner room service at Sheraton Imperial hotel in Raleigh               35.64
                                                        for Coley Brown (1 person).: Sheraton Imperial: Raleigh

  2/11/2010 Coley P. Brown         Meals                Dinner at RDU while waiting for delayed flight from RDU                 21.00
                                                        to ORD for Coley Brown (1 person).: RDU Airport:
                                                        Raleigh
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional        Cost Type        Description                                                 Amount
  2/12/2010 Coley P. Brown      Meals            Breakfast at Nortel RTP cafe for week of 2/8-2/12 for                24.00
                                                 Coley Brown (1 person).: Nortel Cafe: Raleigh
  2/15/2010 Coley P. Brown      Meals            Breakfast at ORD while traveling on Nortel for Coley                  8.39
                                                 Brown (1 person).: ORD Airport: Chicago
  2/17/2010 Coley P. Brown      Meals            Dinner room service at Sheraton Imperial hotel in Raleigh            38.79
                                                 for Coley Brown (1 person).: Sheraton Imperial: Raleigh

  2/19/2010 Coley P. Brown      Meals            Breakfast at Nortel RTP cafe for week of 2/15-2/19 for               24.00
                                                 Coley Brown (1 person).: Nortel Cafe: Raleigh
  2/22/2010 Coley P. Brown      Meals            Breakfast at Great American Bagel for Coley Brown (1                  9.51
                                                 person).: Great American Bagel: Chicago
  2/23/2010 Coley P. Brown      Meals            Dinner room service at Sheraton Imperial hotel in Raleigh            29.92
                                                 for Coley Brown (1 person).: Sheraton Imperial: Raleigh

  2/25/2010 Coley P. Brown      Meals            Breakfast at Nortel RTP Cafe for week of 2/22-2/25 for               20.00
                                                 Coley Brown (1 person).: Nortel RTP Cafe: Raleigh

  2/25/2010 Coley P. Brown      Meals            Dinner at RDU while waiting for flight from RDU to ORD               19.00
                                                 for Coley Brown (1 person).: RDU Airport: Raleigh

   2/1/2010 Joseph J. McKenna   Meals            STARBUCKS USA 025650 CHICAGO               IL: Breakfast              4.35
                                                 while traveling on Nortel engagement.: STARBUCKS:
                                                 CHICAGO (1 person)
   2/1/2010 Joseph J. McKenna   Meals            LAGUARDIA AUBONPAIN NEW YORK                   NY:                    7.37
                                                 Breakfast while traveling on Nortel engagement.: AU BON
                                                 PAIN: FLUSHING (1 person)
   2/2/2010 Joseph J. McKenna   Meals            STARBUCKS USA 025650 CHICAGO               IL: Breakfast              6.80
                                                 while traveling on Nortel engagement.: STARBUCKS:
                                                 CHICAGO (1 person)
   2/2/2010 Joseph J. McKenna   Meals            Dinner while traveling on Nortel engagement.: Dominoes:              18.00
                                                 Chicago, IL (1 person)
   2/3/2010 Joseph J. McKenna   Meals            STARBUCKS USA 025650 CHICAGO               IL: Breakfast              7.58
                                                 while traveling on Nortel engagement.: STARBUCKS:
                                                 CHICAGO (1 person)
   2/4/2010 Joseph J. McKenna   Meals            STARBUCKS USA 025650 CHICAGO               IL: Breakfast              8.42
                                                 while traveling on Nortel engagement.: STARBUCKS
                                                 2565: CHICAGO (1 person)
   2/4/2010 Joseph J. McKenna   Meals            SEAMLESSWEB 800-905-9322 NY: Dinner while                            24.50
                                                 delayed traveling on Nortel engagement.: SEAMLESS
                                                 WEB PROFESSIONAL: NEW YORK (1 person)

   2/5/2010 Joseph J. McKenna   Meals            Room service; dinner while traveling on Nortel                       44.47
                                                 engagement.: W LAKESHORE: CHICAGO (1 person)

   2/8/2010 Joseph J. McKenna   Meals            MCDONALD'S F25121 00 NEWARK              NJ: Breakfast                7.29
                                                 at EWR while traveling on Nortel engagement.:
                                                 McDonald's: NEWARK (1 person)
   2/8/2010 Joseph J. McKenna   Meals            MEZ        DURHAM        NC: Team dinner while traveling         103.67
                                                 on Nortel engagement.: Mez: DURHAM Attendees: Joseph
                                                 J. McKenna, Lee A. Sweigart, Michael E. Scannella, Coley
                                                 P. Brown, 4 people.
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional        Cost Type        Description                                                   Amount
   2/9/2010 Joseph J. McKenna   Meals            NORTEL-RTP-GAT029649 DURHAM               NC: Breakfast                 4.59
                                                 while traveling on Nortel engagement.: SODEXO
                                                 SERVICES INC.: Research Triangle Park, NC (1 person)

   2/9/2010 Joseph J. McKenna   Meals            FUJISAN 120000090393 RALEIGH            NC: Team dinner            115.26
                                                 while traveling on Nortel engagement.: FUJISAN
                                                 JAPANESE HOUSE: RALEIGH Attendees: Joseph J.
                                                 McKenna, Lee A. Sweigart, Michael E. Scannella, 3
                                                 people.
  2/10/2010 Joseph J. McKenna   Meals            Breakfast at RTP while traveling on Nortel engagement.:                 5.92
                                                 Nortel Cafeteria: Research Triangle Park (1 person)

  2/11/2010 Joseph J. McKenna   Meals            Breakfast while traveling on Nortel engagement.: Nortel                 6.25
                                                 Cafe: Research Triangle Park (1 person)
  2/22/2010 Joseph J. McKenna   Meals            Newark Int'l AP - DN Newark         NJ: Breakfast while                11.27
                                                 traveling on Nortel engagement.: DNC Travel - Newark
                                                 Airport: NEWARK (1 person)
  2/22/2010 Joseph J. McKenna   Meals            MEZ        DURHAM          NC: Team dinner while traveling         108.84
                                                 on Nortel engagement.: Mez: DURHAM Attendees: Joseph
                                                 J. McKenna, Michael E. Scannella, Coley P. Brown, Lee
                                                 A. Sweigart, 4 people.
  2/23/2010 Joseph J. McKenna   Meals            Newark Int'l AP - DN Newark         NJ: Breakfast while                 6.25
                                                 traveling on Nortel engagement.: Nortel RTP Cafeteria:
                                                 Raleigh, NC (1 person)
  2/24/2010 Joseph J. McKenna   Meals            Dinner while traveling on Nortel engagement.: Popeye's                  6.94
                                                 RDU: Raleigh, NC (1 person)
  2/24/2010 Joseph J. McKenna   Meals            Newark Int'l AP - DN Newark         NJ: Breakfast while                 5.65
                                                 traveling on Nortel engagement.: Nortel RTP Cafeteria:
                                                 Raleigh, NC (1 person)
   2/1/2010 Lee A. Sweigart     Meals            Dinner at Bistro Pacific: Bisto Pacific: Chicago (1 person)            30.54

   2/1/2010 Lee A. Sweigart     Meals            Breakfast at IND airport: IND airport: Indianapolis (1                  5.70
                                                 person)
   2/2/2010 Lee A. Sweigart     Meals            Dinner at Fireplace Inn: The Fireplace Inn: Chicago                122.30
                                                 Attendees: Lee A. Sweigart, Coley P. Brown, Matthew J.
                                                 Fisher, 3 people.
   2/3/2010 Lee A. Sweigart     Meals            Dinner: Carms Beef: Chicago (1 person)                                 24.12
   2/4/2010 Lee A. Sweigart     Meals            Breakfast at W Lakeshore - Week of 2/1: W Lakeshore:                   22.62
                                                 Chicago (1 person)
   2/5/2010 Lee A. Sweigart     Meals            HARRY CARAYS 2953240 CHICAGO                 IL: Lunch                 25.00
                                                 before flight at MDW: Harey Caray's - MDW: CHICAGO
                                                 (1 person).
   2/8/2010 Lee A. Sweigart     Meals            Breakfast at IND airport: Cafe Patachou: Indianapolis (1               15.00
                                                 person).
  2/11/2010 Lee A. Sweigart     Meals            Breakfast at Nortel - week of 2/8: Sheraton Durham:                    17.89
                                                 Durham (1 person)
  2/11/2010 Lee A. Sweigart     Meals            Dinner at RDU: 42ND Street Oyster Bar - RDU: Raleigh (1                49.27
                                                 person)
  2/15/2010 Lee A. Sweigart     Meals            Breakfast at IND airport: Starbucks: IND (1 person)                     4.24
  2/18/2010 Lee A. Sweigart     Meals            42ND STREET BA678126 RALEIGH               NC: Dinner at               33.30
                                                 RDU airport - 42nd St Oyster Bar: HMS HOST CORP:
                                                 RALEIGH (1 person)
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional           Cost Type        Description                                                   Amount
  2/18/2010 Lee A. Sweigart        Meals            Breakfast at Nortel cafeteria week of 2/15: Nortel Cafe:               24.58
                                                    RTP (1 person)
  2/22/2010 Lee A. Sweigart        Meals            Breakfast at IND airport: Starbucks: IND (1 person)                     7.63
  2/22/2010 Lee A. Sweigart        Meals            Breakfast at Nortel cafeteria: Nortel cafe: RTP (1 person)              8.00

  2/25/2010 Lee A. Sweigart        Meals            Breakfast at Nortel cafeteria week of 2/22: Nortel cafe:               22.34
                                                    RTP (1 person)
  2/15/2010 Matthew J. Fisher      Meals            Dinner at ORD airport: Bergoff cafe: Chicago (1 person)                22.22

  2/22/2010 Matthew J. Fisher      Meals            Dinner at MDW airport: Harry Carays: Chicago, IL (1                    19.89
                                                    person)
   2/1/2010 Michael E. Scannella   Meals            Giordano's, Chicago, Dinner while traveling, 1 person,                 40.00
                                                    Mike Scannella.: Giordano's: Chicago
   2/4/2010 Michael E. Scannella   Meals            W Lakeshore, room service, 1 person, Mike Scannella.: W                50.00
                                                    Lakeshore: Chicago.
   2/4/2010 Michael E. Scannella   Meals            Wolfgang Puck Express, ORD, Dinner while waiting for                   12.73
                                                    flight, 1 person, Mike Scannella: Wolfgang Puck: ORD

   2/8/2010 Michael E. Scannella   Meals            Au Bon Pain, Breakfast while waiting for flight, 1 person,              8.66
                                                    Mike Scannella.: Au Bon Pain: EWR
   2/9/2010 Michael E. Scannella   Meals            Nortel Cafe, RTP, Breakfast, 1 person, Mike Scannella.:                 5.38
                                                    Nortel Cafe: RTP
  2/10/2010 Michael E. Scannella   Meals            Nortel Cafe, RTP, Breakfast, 1 person, Mike Scannella.:                 6.13
                                                    Nortel Cafe: RTP
  2/10/2010 Michael E. Scannella   Meals            Serena, Durham, Team dinner, 4 people.: Serena: Durham             126.20
                                                    Attendees: Michael E. Scannella, Coley P. Brown, Lee A.
                                                    Sweigart, Joseph J. McKenna
  2/11/2010 Michael E. Scannella   Meals            Team dinner while traveling.: Varsity Grill: RDU                       24.06
                                                    Attendees: Michael E. Scannella, Joseph J. McKenna, 2
                                                    people.
  2/11/2010 Michael E. Scannella   Meals            Nortel Cafe, RTP, Breakfast, 1 person, Mike Scannella.:                 5.81
                                                    Nortel Cafe: RTP
  2/15/2010 Michael E. Scannella   Meals            Team dinner while traveling.: Mez: Durham Attendees:                   83.15
                                                    Michael E. Scannella, Lee A. Sweigart, Coley P. Brown, 3
                                                    people.
  2/16/2010 Michael E. Scannella   Meals            Team dinner while traveling.: Angus Barn: Durham                   250.00
                                                    Attendees: Michael E. Scannella, Lee A. Sweigart, Coley P.
                                                    Brown, Matthew J. Fisher, Brian Heinimann, 5 people.

  2/18/2010 Michael E. Scannella   Meals            Nortel Cafe, Breakfast, 4 days, 2/15 - 2/18.: Nortel Cafe:             23.27
                                                    RTP (1 person)
  2/18/2010 Michael E. Scannella   Meals            Dinner while traveling.: Victory Grill: RDU (1 person)                 20.62
  2/22/2010 Michael E. Scannella   Meals            Breakfast while waiting for a flight.: Au Bon Pain: EWR (1              8.66
                                                    person)
  2/23/2010 Michael E. Scannella   Meals            Breakfast while at clientsite, 2 days.: Nortel Cafe: RTP (1            13.47
                                                    person)
  2/23/2010 Michael E. Scannella   Meals            Team dinner while traveling.: Carino's: Durham Attendees:          181.17
                                                    Michael E. Scannella, Lee A. Sweigart, Coley P. Brown,
                                                    Joseph J. McKenna, Brian Heinimann, Matthew J. Fisher, 5
                                                    people.
  2/24/2010 Michael E. Scannella   Meals            Dinner while waiting for flight.: Great American Bagel:                 9.00
                                                    RDU (1 person)
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       NORTEL EXHIBIT B-EXPENSE DETAILS PERIOD FEBRUARY 1, 2010 THROUGH FEBRUARY 28, 2010

Date        Professional           Cost Type         Description                                                    Amount
   2/4/2010 Lee A. Sweigart        Mileage           Mileage for commute to IND from home: IND airport                       25.00
                                                     02/01/2010 to 02/04/2010.
  2/11/2010 Lee A. Sweigart        Mileage           Mileage for commute to IND from home: IND airport                       25.00
                                                     02/08/2010 to 02/11/2010.
  2/15/2010 Lee A. Sweigart        Mileage           Round trip mileage to IND airport: Home/IND 02/15/2010                  25.00
                                                     to 02/18/2010.
  2/22/2010 Lee A. Sweigart        Mileage           Round trip mileage to IND airport: Home/IND 02/22/2010                  25.00
                                                     to 02/25/2010.
   2/8/2010 Michael E. Scannella   Mileage           Mileage to EWR from Jersey City, NJ, roundtrip, 22 miles.:              11.00
                                                     Jersey City/EWR 02/08/2010 to 02/11/2010.
  2/15/2010 Michael E. Scannella   Mileage           Mileage to airport for travel on Nortel.: Jersey City / EWR             11.00
                                                     02/15/2010 to 02/18/2010.
   2/4/2010 Lee A. Sweigart        Parking & Tolls   INDIANAPOLIS AIRPORT INDIANAPOLIS IN:                                   72.00
                                                     Parking at IND airport: INDIANAPOLIS AIRPORT
                                                     AUTH: INDIANAPOLIS 02/01/20, 4 days.
  2/11/2010 Lee A. Sweigart        Parking & Tolls   INDIANAPOLIS AIRPORT INDIANAPOLIS IN:                                   72.00
                                                     Parking at IND airport: INDIANAPOLIS AIRPORT
                                                     AUTH: INDIANAPOLIS 02/08/20, 4 days
  2/18/2010 Lee A. Sweigart        Parking & Tolls   INDIANAPOLIS AIRPORT INDIANAPOLIS IN:                                   72.00
                                                     Parking at IND airport: INDIANAPOLIS AIRPORT
                                                     AUTH: INDIANAPOLIS 02/15/20, 4 days.
  2/25/2010 Lee A. Sweigart        Parking & Tolls   INDIANAPOLIS AIRPORT INDIANAPOLIS IN:                                   58.00
                                                     Parking at IND airport: INDIANAPOLIS AIRPORT
                                                     AUTH: INDIANAPOLIS 02/22/20, 3 days.
  2/11/2010 Michael E. Scannella   Parking & Tolls   EWR Parking (4 days) and roundtrip tolls from Jersey                  120.00
                                                     City.: EWR: EWR 02/08/2010 to 02/11/2010.
  2/18/2010 Michael E. Scannella   Parking & Tolls   4 days, parking + tolls (round trip from Jersey City).: EWR:          120.00
                                                     EWR 02/15/2010 to 02/18/2010.
  2/19/2010 Brian Heinimann        Rental Car        Rental car while working on Nortel in Raleigh: National:              256.86
                                                     Raleigh Durham 02/15/2010 to 02/19/201
  2/25/2010 Brian Heinimann        Rental Car        Rental car while working on Nortel in Raleigh: National:              218.72
                                                     Raleigh Durham 02/22/2010 to 02/25/201
  2/21/2010 Coley P. Brown         Rental Car        Rental car while in Raleigh on Nortel engagement for week             588.83
                                                     of 2/15.
  2/11/2010 Joseph J. McKenna      Rental Car        AVIS RENT A CAR RALEIGH                NC: Rental car for             259.40
                                                     team while traveling on Nortel engagement.: AVIS RENT
                                                     A CAR CORP: Raleigh, NC 02/08/2010 to
  2/22/2010 Michael E. Scannella   Rental Car        Rental car, 3 days.: Avis: Raleigh 02/22/2010 to                      198.96
                                                     02/24/2010.
   2/4/2010 Brian Heinimann        Telecom           Internet service to perform Nortel work while in Bonita                 25.00
                                                     Springs, FL: Hyatt Regency: Bonita Springs 02/04/2010 to
                                                     02/0
  2/25/2010 Brian Heinimann        Telecom           Internet on flight from RDU to MDW while working on                      5.00
                                                     Nortel client matters: Southwest: Chicago 02/25/2010 to
                                                     02/25/2010.
   2/4/2010 Coley P. Brown         Telecom           Internet in hotel room in Ft. Myers for purposes of                     10.00
                                                     performing work on Nortel related matters.: Hyatt: Ft.
                                                     Myers 02/04/2010 to 02/04/2010.

                                                     Total                                                          $   25,626.14
